
Weiss, Daliah H., Associate Judge.
Appellant raises multiple points on appeal. Points one, two, and five, as numbered in appellant's brief, pertain to Erica and Brooke Hahn. Points three, four, six, and seven address Wayne Kaplan and Wayne Kaplan, P.A. On all issues involving the Hahns, we affirm without discussion. On the remaining issues concerning Wayne Kaplan and Wayne Kaplan, P.A., we dismiss the appeal due to the pendency of a counterclaim in the lower court. See Mendez v. W. Flagler Family Ass'n , 303 So.2d 1, 5 (Fla. 1974).
Affirmed in part; dismissed in part .
Warner and Gross, JJ., concur.
